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Mark D. Parker
PARKER, HEITZ & COSGROVE, PLLC
401 N. 31st Street, Suite 805
P.O. Box 7212
Billings, Montana 59103-7212
Phone: (406) 245-9991
Fax: (406) 245-0971
markdparker@parker-law.com

Stuart M. Richter (admitted Pro Hac Vice)
stuart.richter@katten.com
Andrew J. Demko (admitted Pro Hac Vice)
andrew.demko@katten.com
KATTEN MUCHIN ROSENMAN LLP
2029 Century Park East, Suite 2600
Los Angeles, CA 90067-3012
Phone: (310) 788.4400
Fax: (310) 788.4471

Attorneys for Defendant First
Interstate Bank


              IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF MONTANA
                        BILLINGS DIVISION

BRANDY MORRIS and BRENDA               ) Cause No. 21-cv-00076-DWM-TJC
GRAY, on behalf of themselves and      )
all others similarly situated,         )             NOTICE OF
                                       ) ACKNOWLEDGEMENT RE: PRO
            Plaintiffs,                )    HAC VICE ADMISSION FOR
                                       )   FIRST INTERSTATE BANK’S
      v.                                             COUNSEL
                                       )
                                       )       (ANDREW J. DEMKO)
FIRST INTERSTATE BANK,
                                       )
            Defendant.                 )
                                       )

      Pursuant to the Court’s Order dated August 17, 2021 [Dkt. 30] granting

the motion for admission of pro hac vice counsel Andrew J. Demko to appear
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on behalf of defendant First Interstate Bank, the following counsel hereby

acknowledges the Court’s Order setting forth the terms of his admission and

agrees to comply with the terms thereof.

      Dated this 18th day of August, 2021.


                                 KATTEN MUCHIN ROSENMAN LLP



                                 By:       /s/ Andrew J. Demko
                                           Andrew J. Demko
                                 Attorney for Defendant First Interstate Bank
